Case 2:05-cr-20056-SH|\/| Document 130 Filed 09/01/05 Page 1 of 2 Page|D 104

UNITED STATES DISTRICT COURT FiL'ED ii`t' M_. D~C-
WESTERN DISTRICT OF TENNESSEE
Western Division 05 SEF "l PH 53 18

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UNITED sTATEs 0F AMERICA CLE§V§J§¢ h DulS
‘,»"J t_`~§ l :»'-“.~ ."Ei ll
-vs- Case No. 2:05cr20056-28Ma

JOI-IN SHAW

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Goverrnnent, it is ORDERED that a detention hearing is set for
TUESDAY, SEPTEMBER 6, 2005 at 3:15 A.M. before United States Magistrate Judge Diane K.
Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Ma;rshal and produced for the hearing.

Date: September 1,2005 w /< %
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DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

lIt' not held immediately upon defendant's first appearance, the heating may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3 142(1`)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(i`) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judici al officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Temporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number l30 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

